       Case: 1:24-cv-07759 Document #: 24 Filed: 09/20/24 Page 1 of 3 PageID #:1828




                              IN THE UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF ILLINOIS
                                        EASTERN DIVISION


ANAGRAM INTERNATIONAL, LLC,

           Plaintiff,
                                                           Case No.: 1:24-cv-07759
v.
                                                           District Judge Franklin U. Valderrama
THE INDIVIDUALS, CORPORATIONS,
LIMITED LIABILITY COMPANIES,                               Magistrate Judge Jeffrey Cole
PARTNERSHIPS AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON
SCHEDULE A HERETO,

           Defendants.


                             NOTICE OF DISMISSAL UNDER RULE 41(a)(1)

              Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff Anagram

 International, LLC (“Plaintiff” or “Anagram”) hereby dismisses this action with prejudice as to

 the defendant(s) identified below. The parties shall bear their own attorney’s fees and costs.

     Seller    Seller Name     Store URL
     No.
     190       Minggoods       https://www.walmart.com/seller/101639675
               Supply
Case: 1:24-cv-07759 Document #: 24 Filed: 09/20/24 Page 2 of 3 PageID #:1829




  DATED: September 20, 2024              Respectfully submitted,

                                         /s/ Matthew A. Werber
                                         Matthew A. Werber (Ill. # 6287658)
                                         mwerber@nixonpeabody.com
                                         Peter Krusiewicz (Ill. # 6342444)
                                         pkrusiewicz@nixonpeabody.com
                                         NIXON PEABODY LLP
                                         70 W. Madison St., Suite 5200
                                         Chicago, IL 60602
                                         Tel: (312) 977-4400
                                         Fax: (312) 977-4405

                                         April Hua (pro hac vice)
                                         ahua@nixonpeabody.com
                                         NIXON PEABODY LLP
                                         300 South Grand Avenue, Suite 4100
                                         Los Angeles, CA 90071-3151
                                         Tel: (213) 629-6000

                                         ATTORNEYS FOR PLAINTIFF
   Case: 1:24-cv-07759 Document #: 24 Filed: 09/20/24 Page 3 of 3 PageID #:1830




                                CERTIFICATE OF SERVICE

       I, the undersigned attorney, certify that I electronically filed the foregoing document with

the Clerk of the Court using the CM/ECF system on September 20, 2024.



                                                             /s/ Peter C. Krusiewicz
                                                             Peter C. Krusiewicz
